
4 So.3d 1270 (2009)
Beckie McGILL, Appellant,
v.
STATE of Florida, Appellee.
No. 4D07-4096.
District Court of Appeal of Florida, Fourth District.
March 25, 2009.
Beckie McGill, Fort Lauderdale, pro se.
Bill McCollum, Attorney General, Tallahassee, and Myra J. Fried, Assistant Attorney General, West Palm Beach, for appellee.
PER CURIAM.
Affirmed. See Applegate v. Barnett Bank of Tallahassee, 377 So.2d 1150 (Fla. 1979).
GROSS, C.J., WARNER and MAY, JJ., concur.
